Case 1:23-cv-05844-JPB Document 1-1 Filed 12/19/23 Page 1 of 6

Case 1:23-cv-05844-JPB Document 1-1 Filed 12/19/23 Page 2 of 6

Case 1:23-cv-05844-JPB Document 1-1 Filed 12/19/23 Page 3 of 6

a La
’

14 ane Py a ye 7
ORES h Re OR cae oe
4 " ,

Case 1:23-cv-05844-JPB Document 1-1 Filed 12/19/23 Page 4 of 6

Case 1:23-cv-05844-JPB Document 1-1 Filed 12/19/23 Page 5 of 6

Case 1:23-cv-05844-JPB Document 1-1 Filed 12/19/23 Page 6 of 6

